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 9   Attorneys for Plaintiff
     ARSUS, LLC, a Utah limited liability corporation
10

11
                                 UNITED STATES DISTRICT COURT
12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN FRANCISCO DIVISION
14                                                        PATENT
15   ARSUS, LLC,
                                                          Case No. ______________
16                          Plaintiff,
        v.                                                ORIGINAL COMPLAINT FOR
17                                                        PATENT INFRINGEMENT
     TESLA MOTORS, INC.,                                  AGAINST TESLA MOTORS, INC.
18

19                          Defendant.                    DEMAND FOR JURY TRIAL

20            Plaintiff Arsus, LLC complains against Defendant Tesla Motors, Inc., alleging that:

21                                           I. THE PARTIES
22
              1.     Plaintiff Arsus, LLC (“Arsus” or “Plaintiff”) is a Utah limited liability company
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     with its principal place of business at 350 West 2000, South Perry, Utah 84302.
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              2.     Defendant Tesla Motors, Inc. (“Defendant”) is a corporation organized and
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     existing under the laws of Delaware, with a place of business at 380 Fairview Way, Milpitas, CA
26
27   95035.

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 1           3.       This action arises under the patent laws of the United States, Title 35 of the
 2   United States Code. This Court has subject matter jurisdiction of such action under 28 U.S.C. §§
 3
     1331 and 1338(a).
 4
             4.       Venue is proper in this district under 28 U.S.C. sections 1381(b) and 1400(b).
 5
             5.       On January 21, 2014, United States Patent No. 8,634,989 (“the ‘989 Patent”),
 6

 7   entitled Rollover Prevention Apparatus, was duly and legally issued by the United States Patent

 8   and Trademark Office. On April 16, 2019, United States Patent No. 10,259,494 (“the ‘494

 9   Patent”), entitled Rollover Prevention Apparatus, was duly and legally issued by the United
10   States Patent and Trademark Office.        Copies of the ‘989 and ‘494 patents are attached to this
11
     complaint as Exhibit A.
12
             6.       Within this District, Defendant has sold and offered for sale Tesla vehicles (the
13
     “accused vehicles”) that infringe the ‘989 patent, claims 1 to 4, and the ’494 patent, claims 21
14

15   and 22, and is continuing to sell and offer for sale accused vehicles, namely, Tesla vehicles, such

16   as Tesla models S, X and Model 3, equipped with Tesla’s so-called Auto-pilot system, within

17   this District.
18
             7.       Plaintiff is the assignee of all right, title and interest in the ‘989 and ‘494 patents,
19
     including all rights to enforce and prosecute actions for infringement of these patents.
20
             8.       Plaintiff has been damaged as a result of Defendant’s infringing conduct.
21
     Defendant is liable to Plaintiff for damages in an amount that adequately compensates Plaintiff
22

23   for this conduct.

24           9.       Defendant has had written notice of the ‘989 patent.
25                                       IV. PRAYER FOR RELIEF
26
             WHEREFORE, Plaintiff requests that the Court find in its favor and against Defendant,
27
     and that the Court grant Plaintiff the following relief:
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         Case 3:20-cv-00313-RS Document 1 Filed 01/14/20 Page 3 of 4



 1          a.     Judgment that one or more claims of the ‘989 and 494 patents have been infringed
 2                 by Defendant;
 3
            b.     Judgment that Defendant account for and pay to Plaintiff all damages to and costs
 4
                   incurred by Plaintiff because of Defendant’s infringing activities, and an
 5
                   accounting of all infringements and damages not presented at trial;
 6

 7          c.     That Plaintiff be granted pre-judgment and post-judgment interest on the damages

 8                 caused by Defendant’s infringing activities;

 9          d.     That Plaintiff be granted such other and further relief as the Court may deem just
10                 and proper under the circumstances.
11

12   January 14, 2020                               By    /s/ Steven A. Nielsen
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 1                                            JURY DEMAND
 2           Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of
 3
     all issues so triable.
 4

 5
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